                                                                                        C    o
                                                                   —cs^         jr:;7v3—^wtjvtx?
                                   C.\ V- "^vvjjsO^
                                                 i.v3ys\^\Y.—                                          "DVI^
   5tyr^                                ^^'ci.TT. ^'\-"%    JSVniX         "A    \
             Si'" '^^'o s   i^'9337'
                            SI
•5\^4                  '^.\H''^v^ \o wy          —\o -WyT^ Jw';^Vj>>r\ ' W'0^•\''^^^iOb^—
        0+ \_^\:,\                            ^—^•5T?ro<o^^T^vr-^^—'~*'"XV_
                                                •'"^»V=y7S*Er)—^'VTv'^^—M^v                    cV^y-S^VRiNy vjv-^
                                                           X-
                                                            'vyxvcp)                       VATiy^ ^J-JoASo^
                                                                         •o ' ^ -o' j'
                                                           :i}^V ] -Y^                  X'v.^u^s-5     ^S'o'^y.4:^
                                                                                                   T
                                 ^v-oX)                                    w^x"\                            ^
        Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 1 of 34 Page ID #1
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       ^


                                                                          , \S CVfsX t ,^e5s CA.-V aW -V\w\g.'S                 pneiA-i^nn^.^.
           yVw.f-i^vA q ^Cx^-oTwr vvN X\\vovc^s^ y.'o. VVnc C'-v'fjsc^-^ oV S\.C\G^\-r- Co^aV^
              a\ ; vW \':> C.^yra-fs^^^ (-iV\!S\y\d,V oJV                                               Ox^rvV^                                ci+-
            ?CX^ XjofVrs     ^At^.cX fiaSN£>J^\p^ V\_


                                           \a.\ \rjC_aXt^. O.V                   Viof^ S^XLfotj^i^C
b.-                        ^vsirk ^r^.un          Vw. W>.^to.tL^ .                      W'^•tAasr k.ov^f\V^'NvA                 Wi.- °.-^ 7tX) \}or^i\
 ,           t::TV(-aa)v
L                    He-l CaxCov^               ^Vm3                                 Vai- ^.CXo-^'' C[.-»^rv^ boA ItacgWj^                7c0 VjorA4\
         j--                                  We^ '•-1 \ci^\\.A.^ /•Q-.priA-^vV^ W VW                a^XJG-^VOA _.Q.^
Sv.cig.r Ci^n-yVs.^                clA^- W Vim •S.           oV AV Vvs^ \^^rY^e.W^ ^rs Vr>t.-V S.c.t.>LVi^,
                                .W^^sttwV-^?vi\.V^>OirA^ '~^,\                            ^f>A.r         ck.-\^WisQ.^ <xrg^
 fe-fAAr'-A^^ A'n ^t;vr\]\'-c^rt:i L>s.\?fv ^\.tAo\r Ct:...A~^^\ \rf_ja,\tX. &"HX> i^OrVW                                      •Si\f-4.*.V
                  "XL L.."IXlrj            Vv.. \^vf« .<yv cca-.-w^oL-.rsX a-w^kjAjX N>^Sv._                     cA UJ                    'A
 Co<^a.^\'asA cXAvLlT ro,f\i-\r-ii^ f!A>-Ar^
      ^V^arsV^-fA ^.SfYx.Ax %s. g cc^rrecXorA ^b»VJL^ »fv VVx.                                       X\VfftsS> -kX ^.CWNr^dA Vcfcki. -A-—

                            S'^fj.aA O-A^l^jV^t. ^~XL'.afV^VA3.             VflNa-- ciV Ccf"(^\'A-         t; oyjirV. W .CAa^r                   bi-A .
                                              Ar^ffi.c-\^f>r\e.\ AX^cg.r \A \W- "^V-<A-"LVVvyXb a.'*^ bVC\<v^ Co^nV^ ^cA ^OO^^'UA
l\V ~)rO                   '^"'' ^ ^ta-A                   ^o^)^r^.^V<.fTQ hV CCyr^c.-,^ t.^a.-N o> i^^afV Xcr "sXCSfy'i-r COl^iA^ A.
                                                v-j^ Si.isJV.             0'.\v S'v.Ow.sr CLV-^tsV.^ ^.a^\ 'vVlOO           5^ "bVaiA
                                           ^Nn\a_ fA- Qa>Nl^o.'-/A- 'Stva. UViv--.           'cvi^W'^TNij-W ^<~^.Osc:-.r
                       rvxcv                aVftAtis^-V. iX-a a. At^C^t-W '^Cs<x\<-                                        ']^'X> V^tyVrs
                       ^ ^,r,r,>0>^ VA>b .r\- C»r>^fv\AV SVsn-\..-»g>S ^y<\<^CX^A ^                                 iLO-AK            .
\1                                             .rv^sv-      A\^          o\^-xC,vAV^. AV Vrtvi c^                                                     Uw.
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                                       'r'AT:A4?.rr\« v\V cV CVc\Tv\s
                       VrNrr\tx\fK                                 VvxOii- ,-?»          r^CCY/SS AV\r-X                               A\ r{-vy\/4ax/\U
Srt5 pwN^vUvV-i       Vc>       Vy>     \\r»r>.f'>       r\V\^-                            Vr-, "XrWYXr:!^S, <~.V(n\\ W . qHt. -VTs

  J   '
                      ^\ScxAe - Vw, f-sJv-rrwsn ^ \\p<^-fWs                                                  fu2-NTif\'is . ~~N i-,              cAasr
                  r'ai.T^A, .\.*~^jn             Co>r^S>f , CftCA-Avrs f                           d^r\sAr             ^ o /^ rrSW<.        r.'T^ . V-\VnX
                  r>            pf\^        V.iys»^fea.S^ V>, C^Ci Ayn^. Acs.Iof CpV^^fy^jA, Cr^-v^Afi-ipV, Vnp,/»_
                  \^9-ii v-^                                   ^                                   VjilVA'^ "Sr.V IA^NvpO. "SaA- ^"^anCj-Ic
                      r.Y\)^ ( /~(rAr(\svs \J?orv^                                       m         -Cjcynrx-^ . (c^vpAqiaV
                      lAftVltf*                 \.r\                   UIO-aX-                      ;/,i-(_A.. ~\v^ Pinp\le=i^c„
                            O                                                                                                                      \

                      'O Vi'foVefN              \'N 'SVcCA.cs^sr Cf-wrfsV Aie„\                              V-0'\VvN-» ^V c. o/WiCinftf
                  (^CC/Aa-t*—                                        •p.oiiffi' \Mvr\)>,^:ii.. cia>^ "^t-W af«- r\(.-^ VpaA^.
                      i':^ro ^r^-VV.            W- \Vi,s.^-                at V^p-vnS, iAA^                      QstSncm               McfAn..     onX
                    ^Ac-fAVvn VpaJp . VN'Tiif.i-ir'V Lov(pVa<A C.OVvvAp-s'As ^Oa\ A.S Av^A.Wnf^-
                  *~X\          V 'No ^ \Ano , o UwV.rcK rvtv-,-^ \Vovsox \ a           ^     vjTfi vAn.
                                                                                               J                                                              ^

                  -~YN           1^^.C\o.NT CCVAaV                                                         \\/* . A<vX, ^^.A/'Oi-Ol'v'XAX-tv^
                      \*::i WtvrrNtAT'V-. ^Cg-Oac-A £X-X<; \A.•^v^oAp^ A €                                                         i      ^«-^bqr^>WL^ ,
                  "itr^ 1 C5i.v^A,\a \-fNS^a ,( 6io\ A.•^A^ClAS LnXVv "'("ScXa GoIaiA riv Ar«-V*aAc;\
                  \JaV-\.t..                     i'=4~.u-*~s V\a,,. Apvs co¥V<ioi>AA aW-^^V Acv u-rt^irS
                  ^                    ci-i.iaV a a            V^^^c,A^ Xs'fs.           cvn^A.v.^,^                                 o
                                                                                                                               Av CVa^r- Ct^ AAX^
                  f (-vA^AVAiL"^ V) \                     i^OirAfi/'^; . A,r^ '£=rf\W9. \iVW\J >.                      Ca->V "OcOife.            \A-<A/;neiU
                  C\xs\.- \_ATt JV^XaVa fV.VX;r» vAYYNcXrS A                                                    ^rarOcwV . ^S SCa^/Ut'^xl^
                  Mcvf-A Q^6rfc»Vr^cKA<^ gaX afX>a;» X V\. OVW'.dN niXc^r\r\
                  —r
                      —YN             cA<.C5,\«~ OsuAn                  . ^'V^^»V^cA                              SAp&\iCac rsX ~Avs w\a                 A_A-
                                                          —^                                                           ^       O                          1
                  *Sp;cJlC• {• }\         fpfO.Af'Xs \v-N fsifs Vwi                     V-lrt^L. a.vN>.                rsA VronVA/.                       \\<.^<^,
                  \fs ANsrf<A. . ^                   V             fYioA.xA C-pOp lO-^ AXjfvj.,                   VXNiiK vnrAiAcs^ \voc\^tr\ A\>*b
                  p              -'                                                            '       J                   J
                  ' u\.J^^-< ^ \-, \.^V/TVN^- I. rx                "-A "(VV^        0\oV.i_i-\ "TSoc,^ \r-i C(->                                       fVAAitfrMP
                                            »                                  J)                                 -J                       •             o    ^

                  V*0>                     r.A>, c VcXXc-fA. A                       \\a\li^                     Ciai,v^AaMN< r^Wi.V
                  Kv3>i- oV                  Ccffvx^t^'^y^vj a,p o.AAX<E.^tA.
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Js>   \i*.   Oo. ^CNYXiA.Ovi^ ^\                              ^ Oq^iD ^S'.ie-YN C\ W^_Vrc^ qV
             C-Wij.^ V^'-vse, cxN V^"'^:^cOt-                             \::^.a.0(-         ^<iA.t> a/\.^ _
                            uj>a-f«^ ^rtXA-r^V '^rN VvNft, _\i\ac.W e.-^                          LofO^ c\
                                               <^\}e^ WNc< C-*^. ^^ScJ'WC>A_,_J^
              CV^ c^ 'bV.cAC. C.^ ^^\vN, a.<rv^                                           VW W"^.
             VO"^ "•-^ J          I                                 OtVU" t>3>-y\
                      ', f^nT WV "Si- 5"«iia.>.i/'a-? Ow ^c^yfDOSse- Wc!sv\       iSDr^

             \b                W     Wii.                           Wv



      n.     Cv» V<^(Vacv'{v>v^ \'^ o.^ \'\           ^vV\2XQ- UD°^ -                                        Wi\V
             c>'cV^ \fN.            ^oi~ ^^,0>o.vr CcMtv'-'^      cavx
             i^oS x\c^                                                        WiL.                 LOc*-^
             v,>iO&c.V- Vu                       ^      ^•^ynX fi^iU-wt.                    *-OtW w\lv\ VV\o
             \ c*2^                           Nx>\ CiC^fc-''       ^ Cj3Vv\(^o,VfNt^,    ^Du^
             tXc)C Ci:)\.                     V) Vwi- fWS«-. C>.rr Vv^      Vor 'TlOiMitAj Vie«ii<jC5v6^
              b^\(\rfV\CA ^o^h V/cy^*V=.(\c^, ~X u:>(\:i riewt-r 'ba^ V>^ wu^-vtA Wvw^
             'maiAC^ \'4>^t-'a.                CS>. ^Ae-^Q-^D          ^)fCLeAM^ ^rvn-^
              c. \>0^ of^ar Vsa- t-s^o                                    .*^<^ Loo-ti Co ^xy^'^^OAAC«Jv^^/^V
             VV\'i,A- IV\S3                                         YX:^ ^ ^i\riV_ V\t^ Vj^C^V.    Ni^avvvji^
                                     f^'piV C,VrY"\fx\':iVfo.\if'5 o,-^ ^uV^jVar Vrcoiii^           rtX OiXilTc^
             CXn ^e}c)OJsCi.-rv^"X ,^0ZX \.^vV- Vcw-beX oa '^!^>-^^ctJc VWr*-
              a^ L?<->Vr Xx>A of^r \r\ 4-WsX-^V- t)V,CA(j,\r CO-?*^-~5!.                                      no^
             Y-cX'V^.A.X \>^ Ac;\\ft^b               U>iO uj-nS^W Vo
             XC'C.VXvfM V\o TeL-'i                   J-JoA                                  ^ Ccv^'fio.Vs, ^V
              K)^'fSjL- v>>A^ UCiTa                          {At^                 CKj(v^o.Vt.V o-A?! Ci.>V«,i. -W" __ __
             ^;5::ris«-' cyV Vvt^                    \»J<»W . orv Nvcr                                          C.
             ^l_                                                          M-«.'           of^r VyAipSsrxis       4w:b
                           CwtsX       L2>'^b ibft.Sle_ Vi                         VvtA         'TvO-'S
w
             arv^ "A. •SNejiXA.^ \o ^ptcvV-V (K Sjpwuitiy'. Wc                                      UVr              ^rcxPN
             Cak^ ^Y\              ^P^^ofCOf^ cor\i/                     ^/vaX VVt^ K/Jf^»-r.             U>c,^rr \j\J'T^
                    \5rpk>^X v» <^>r \^bdC. Os^br\ \YAcPv^Vio*^ o-rv^ V^MiV o^Xvav^ V^ocX^
             'C<l.C£,<j^            V>Xy- y^sXO"/^             ^'.'tA^ Y-fCw ^ Cd>>>f^aV>.P'^K^'A\S»Ae-^UJ4i-rXVt^^
       Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 5 of 34 Page ID #5




           V-fcvvY Wocu.af'^                                              "i- LJt.:i              aOiL&S -^0
                    V^w LVVaTar^. V<x»fv\                       ZcW ~                                     cit^
           N\'N^O<A(w. ~3-i,Oa:3 harv-ti. ACX.C:^> ^ L<iij \ ^fYCV^ V^JOtMaf-^
BX-^       TcM- Mao^ ZCK\ ^ u>c::i i^a-twilii acc-esb Vi VW Ww V»W<\fo^,
            ^cVs                  xr>4^V<yvi- "\.                                        Co.^K<vir\
           s.r\ Qj(C«5J) o^          Of\V                         i?\.                 oVNCfi—
            V<j(\V\j^                        C>uV c^ ^30^                          L«-'«' '^Omj                  •fe
                            \^o^(vc•^ ^o-i^           \^>         ^ "VW-                   ^:^.ptfu.^or ^V
            ANouj                     or    VNC^.             t*W>-iaf^ "iO^T *\. cyji*t^ r«.GiMt'3Vi Vi,
                    XlxtVAb. ~^jfv            ^                  Cc\v0.oi.>-^ ^oil|^'^'^^o,           2o\^
            ""VvOr-^ ^ooc\*^^\ ,                                   ^ifiA v-Jcvb (p'^Tc.ivicA^V^ uVI\a- \x.\r^
                        ®vCCt5^             ^OkW \\\5fo.fl^              <J>-N^n^ ^JJrts^A^ o^. rjyV
           <iV\ Vn\^ \o                                      Vj..XA»>\ x-bLVO^                    e-'>'^>ivW«t ts^
                                                            QVOl^'^.          r\           >(Vic^>^ Ct^
                     ^e_c.\A. Vi               \ciw                      ^jLUiA^ v^M- V/ui^ rcxfoxrcx^
                    VvA rrto^f."i JO-ptfcVnOv                                , '<^'N •'Xp'i- \ifcxA<i.^ avx^
           CC^^'vA•W^ v-aSU-Cs^ \~ft>v-^ ^ft£ -^Aau^ ZC>^~1 ^«-r\;ft\, -Vi                             Lo.v*' Litra/-^
           Wr-^»-'^ r(\«_ Vforv\ pfOSex,-^'in«. '"'Vn t-(n^\)^LV.ly^. Co. Vof^-^CSrA
            V.e.C„xX. Xcs K^a.V^_ Oi^AO oV                                 ZdJ-V>AirxV>j Ui\e;\ I aAAr«.ifi>C(i.
            \V \ir\ Vror\X oV                   S-pi^y<>5r^^ct-^cu^t. rc>i^\»^ U)«-^ Xx\o.
            O^t                   ffi-Vs-Se^ \o                c*-A- "xrvVifTyxa
                    Va^\ ^Cx-ivxj^Ni c>fxx^ *Vvrx\fvxa,V , "^vx OVuxr                                  i\a^.t^iLrxtC,
            (^A:9r\Ucx\"^"^    f\s^V*sxs « pAWix Cowx C.O ^
            —v\                        ^ XS^ iZv-fNrxx^ vvxo.^ \vsxV,t\ vAsJ^xCe-V
            X v'NCcftXL^ VVt_ AxAfSt- oicicxx^                               V^-XVn VVnA pf?.vt.rvV-<_^
^1-3        VTmu C^kA iLA'f^Os^ ajNV (W-jaJi,                              P(A\A,               ^ftLcVi^ Vx»^
              Ct •(^riAcfctxif'A x>.aX\ "C^t^ifAsir oV                         OT\\fl_ Nsajxrc^          oV
            'CYNti.'.cA AXtA-Vv VsV «•                         \oa«a ^s-JKs 0.^>§r>A oS Ox fiOrA*^. "A.
            Su^Offx-xV^                     ^A^O\r\ ^.x»Y»x^VoixrxVj OA^ YAii-«_ Vao-A                           cZ^.
           *"\VN.vTi ^\\t)fo.V- \^ AV'V«.C«j(\«-a_ \o <Y\tXscA fxuAs "j xA^W,                                    VgslYNS
            rNt^Vv^,
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W    2\.   Vof \0                    "3. 1-ottb             Ov^ C-«-W                       0 Or>^ V\
           OVs\<.V\ V«s.«j^o f\o*N ^--KT\e.V\C(fsNrM>^ citors>. ~\\ni^                       ^C^CaJc^
            (^JcCW ^ VV-e_ \v^\j\^<^ cO*S*5                      \oO^.                       Y\>&^rNV
               \"r\ffSr^V.!> ro<\.tvwL^           i-OV-i^ ^oct^ »Y\A-                       Qa saaS'^Vc-'
            <f\vvrof\r<Vrs.V^ Qr^ Su/trA             C<-C«iSv>Ab A. V>ci,^                  ,^va4e>\^
            YY\>^^V arvV V^AcA0i^pf>^. c>r\<i_ Vr^T-iiC.r^^                          VTU-
            \v/Y-V :, ~VU<_               rV\w.A\(5^ \*\y»r4c,V-S
            C^               \c,W- VN\<J^-V                     Ci:3Cv\(J|Wr4A CxV^C*-^"^ l-A.nbc-5w_
            Cx)yv^'^^'^Ar> VwjwV^v-p'^ ^^v*\^L-':i                         ^cvv«,.             \A\orirAti-Vi''JiA
           ar\^ Via,\\cJ^ AVa^^ \ti3Aos Kai/<^ Vdcj£,a                                      ^orcw^KV
                    Ar^«A-vr« C7^                                                       \v\yv\<3v^!5
           ofMl-       y^Ofi^ \A VVti*-' fK>T\ W'^           cAV^ OlY\ ^             •V
           fv.'A^. C^o. yA i„a"lai\W           Ca.^Wi'^ tooipW\'\VS'lAtl. ^^4-^ Cc^lJc, irt-S^rtfU, i-

           "^-VN ^\.c\ti..\r~ CcxjvA^ AV\>Ne. Acu*^V                                  a>\^ V^-&loL.t5
           ~^Vv_                     V\cW4- -^JaiAktvtx ^cxN/vV Qv\\, WvAk',
            ^oouaej^Awv \Ws«-. '^•cN'cVt                                 oi.\r Vsc/rit^ Soi-YVR-^
                                <Kyf\^ \.<Arso\fi-^ '^^^JcCx'r<-^ "V^ Ar-jf-c . Aa/^Avt-A
                      b^AAa|^4AliV QwVAa-S                                       v\)\^ C-A2. XnW •
            C^rs,                ^                      \rN. VV<— SVxaW^
                     \*\ fVV^          ^ «">W-4 AW Y^'J(S>l-. Xcir VuX^ Qni. WC'S
           ^            oAV o.              cA , A \ XVA cu-4- Vl«_ Xs>1>a ftV\^ UJ«ai> r'WA^
                          VAjlXauA,~\. own CiiOtjteAW ^-o»"                    i"<bO\VA^ ^XijsAjr<*\"i>. -N-^
           yO^AjX'i UJO^S vr.4afV»A A'&Vwvr^ V\«<s                  4c>AvC.»

    7h.    C)v\ ^^x\\                     ~3i, UxAe-                             "VV^ '^A^i^vtSur^
           Qf\^ YY<c}:>«.A e\so-V          \<\y-a,A<_ Txxrv^, V'i^XWi'
           VA V5a»*> "beAiA^ OvAicA o.VW\Xxyv. tA ¥>.A ViA>(J)At \\*Avji- AoX-
           Vvu^           AW>^ "bAckrVi- oi-v W*! f^exK-               V«^W<ri \D«^ar\ V> SpTtoX-
                      t-t-V.'aiL^ ^ Voticiowvs              ^3a^<wjL Ovam- \gc)o A-
                     'vf\WAoA aA^ '(>A' Vm^n               \A VW. C.tu\ . l_tW" V\a, v'fli,
                        \>^ TAfl^kA -^OOA, (VtAvW^iCS                                           0^ 5-u-n
           \\jl_. l-~3<\b V(\ut\ TOol/ti- Xi AVt- XfXefYAoC-^j ~x_ t^Ao-Xt' Y\Aa Voue^ \>ztn. <4>^]C?:>*A'
           Xd ^*tV<-wVQ.fV><AA CovvVvV>oa3-
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 O    V.
             ~^W53o_ C\a\YY\S Cj^\«cXs\je\j^ SVicw ov. (poiW<-rir\ o"V
                                    ^<L.^\\j!>X\ar\ cA- r\^V;s
                           Vaw          ~Wva_ Ccv\3i..-VvA-ViiV\.
                            CXc\.\r>c^ v>jr^«,r VV<i- Ct^OT Cs^
                                   <\                 •^(~ "VV^tUr oViV\^cA((>\ A-ii
                                                                               "OZ/e^,
                                                YVi^\fw -Ncs                 A-V*i_-   sO^'^Vc/^
              0^\\c}fN                           ^ OziSaValaC- cxvn^ '!::>W:)0'b
              <X ^c^-VVfV> ^                                necA^A- oV ric^KVs
              '^DQOo.f                                        .
vx.
             ^ ^eC-WaVio^ VVfiV VrwL_ acJVs ^r\k C5rA\:4i\oi^5 <^«J5cr\\>2A
             V(i,fe-sA VJ ^oVttV^                 r\^Vi SA-p^sir -VVjl, CcA'9nV--Vi0f\ C^lr^i,
              \(XVjO ^fc^iC^Ao^ '^^\<\A ^!JiA-0,^<%t£bi ^
             ^ ^JlN'sVNw'Oo.f.A^ 0.r»^                      <A^vaAcX*OA cf^^ortv^^ Vs<_
             ^aXtrsboA^'b ^ ("^.C-NiCj^ VVsi_ <^se.yGACJL                     VV\«- 3iUC c^V\
              ^QcxX'l'c.i (A.t\^ \ewVv'bfr^f^           .
      21.    Ccjp^^'^-YnS^p.W's^ ^Q.Y>^c^a^ Vv\ \Vq^ cxmowAV                    ^V|H^,O0
              CX^^vAt^ ^PcV\ ^eS^'^hoj^.

             ^^T\\V\M- ^P.tYNCsC^C,:3 SA ^Vti_ cxwxmaV ciV ^\^C30CxCO Qq^'os-i-
             ^Al,V\ (^W^nV.

             ^\o;SA\-X^b Cc5^ \f\                  5ka\\

             Gi^fN'iroN. OsA^                   ^ATArti^S occc)r^.j-o^Ao ^iroO^ .
       3s.            ft^'vXvofVkV t~e_V«A*          c;x>.r^ iWjrA^           If)riipe/"j cv^
              SXS)~A.vVtxt^Q..

       3X    ^            ^r\<A ov\ a\V             W\c:d^          \)^ ,
                            V)QC\'^b                            Q^
                             W'^Y^V)                                                        <;pL
                                 ^VC
        —f—                                                    y-|C^-C^        ' i^J'OSC^
                                                                                               K
•                              "tpXTppyrcp            :^p^5pj '^•oUa
C-y)uA:.j—cp ^>Jv^Y_^o-l^          -^-^SVi^'TO                                        jQJ,t5
         \pp) -ijO sv^v>^ Y>j^^ -"Mp                           K"-''-" V')TV
        ••soubijdvXb:)                  '=i>s ^\s\'^^\joCr:)                                   *
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                      ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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    Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 11 of 34 Page ID #11
                      ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                        ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                     ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                                                               ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                                              ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                                           ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                                            ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                                    ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                                 ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                                    ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                                    ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                          ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                      ST. CLAIR COUNTY. SHERIFF'S DEPARTMENT

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Supervisor Actions:




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Admin Actions:




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    Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 27 of 34 Page ID #27
                                 ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

                                         COMPLAINT FORM


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         Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 28 of 34 Page ID #28
                                               ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

                                                               COMPLAINT FORM



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          Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 29 of 34 Page ID #29
                                       ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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                  Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 30 of 34 Page ID #30
                                                   ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

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       Supervisor Actions:




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            Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 31 of 34 Page ID #31
                                        ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

                                                     COMPLAINT FORM



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 Officer Actions:




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 Admin Actions:




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         Case 3:17-cv-00594-JPG-SCW
                              ST. CLAIR COUNTY SHERIFF'S DEPARTMENT

                                      COMPLAINT FORM



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        Case 3:17-cv-00594-JPG-SCW Document 1 Filed 06/05/17 Page 33 of 34 Page ID #33




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